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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF OKLAHOMA

TOM G. BALLAS and                     )
RON C. PERKINS,                       )
                                      )
             Plaintiffs,              )
                                      )
      vs.                             )      Case No. CIV-13-1094-D
                                      )
CHICKASAW NATION                      )
INDUSTRIES, INC., et al.,             )
                                      )
             Defendants.              )

                                  JUDGMENT

      Pursuant to the Order granting Defendants’ Motions for Summary Judgment,

judgment is hereby entered in favor of Defendants and against Plaintiffs.

      Entered this 23rd day of June, 2016.
